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               EXHIBIT E
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

           CELGENE CORPORATION,                  .
                                                 .
                    Plaintiff,                   .
                                                 . Case No. 17-cv-03387
           vs.                                   .
                                                 . Newark, New Jersey
           HETERO LABS LIMITED, et al.,          . May 11, 2018
                                                 .
                    Defendants.                  .
                                                 .



                                 TRANSCRIPT OF HEARING
                        BEFORE THE HONORABLE MICHAEL A. HAMMER
                            UNITED STATES MAGISTRATE JUDGE


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       1                 (Commencement of proceedings at 10:09 A.M.)

       2

       3                 THE COURT:      All right.   So we are on the record in

       4   matter of Celgene Corporation versus Hetero Labs Limited and

       5   Celgene Corporation versus Par Pharmaceutical.           The Hetero

       6   Labs Limited matter is Civil No. 17-3387.           The Par

       7   Pharmaceutical matter is 17-3159.

       8                 And let me take appearances of counsel, please,

       9   beginning with Celgene.

      10                 MR. BATON:      Good morning, Your Honor, Bill Baton of

      11   Saul Ewing Arnstein & Lehr, New Jersey counsel for Celgene.

      12                 MR. CERRITO:      Good morning, Your Honor.     Nick

      13   Cerrito and Frank Calvosa, Quinn Emanuel Urquhart & Sullivan,

      14   on behalf of Celgene.

      15                 MR. HERTKO:      Good morning, Your Honor, Matt Hertko

      16   from Jones Day also on behalf of Celgene.

      17                 THE COURT:      All right.   Did we miss somebody?     No?

      18   Okay.

      19                 Ms. Flax, how are you?

      20                 MR. FLAX:      Good morning, Your Honor, Melissa Flax

      21   from Carella Byrne on behalf of Apotex and Hetero.             And I'll

      22   let my cocounsel introduce themselves.

      23                 MR. ALUL:      Good morning, Your Honor, Andrew Alul

      24   from Taft Stettinius & Hollister in Chicago on behalf of the

      25   Apotex and Hetero defendants.
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       1                 THE COURT:        All right.   Good morning.

       2                 MR. FETTWEIS:        Good morning, Your Honor.     Robert J.

       3   Fettweis, Fleming Ruvoldt, local counsel for Breckenridge

       4   Pharmaceuticals.             I'm joined by Kyle Musgrove, patent

       5   counsel, Haynes and Boone in Washington.

       6                 THE COURT:        All right.   Good to see you,

       7   Mr. Fettweis.

       8                 Mr. Calmann.

       9                 MR. CALMANN:        Good morning, Your Honor.     Arnold

      10   Calmann for Mylan.             And with me is my cocounsel Ellie Steiner

      11   from Wilson Sonsini in California.

      12                 THE COURT:        Ms. Steiner, how are you?

      13                 MR. CALMANN:        Thank you, Your Honor.

      14                 MS. OFOSU-ANTWI:        Good morning, Your Honor.

      15   Eleonore Ofosu-Antwi from the Walsh firm.             And with me is my

      16   cocounsel Chris Jagoe from Kirkland & Ellis for Teva.

      17                 THE COURT:        Good to see you again, counsel.

      18                 MR. WALIA:        Good morning, Your Honor.     This is

      19   Gurpreet Walia.          And with me is cocounsel Joe Schramm for --

      20   from FisherBroyles for Aurobindo --

      21                 THE COURT:        All right.   Good morning.    All right.

      22   So what I'm looking at the most -- I think the most currently

      23   substantive correspondence that I have -- and if I'm wrong,

      24   please tell me -- is the Docket Entry 164.             This is the

      25   Celgene Hetero Labs Limited, April 27th letter.               If I recall,
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       1   you folks had proposed and I had agreed in both matters to

       2   extend the deadline to serve invalidity contentions.

       3                 MR. CERRITO:     Your Honor, I think they said --

       4                 THE COURT:     Go ahead.

       5                 MR. CERRITO:     The April 27th letter dealt with only

       6   one particular --

       7                 THE COURT:     Right.     That was just Hetero.   I'm

       8   looking at the March 28th letter and then the April 27th

       9   letter.      The March 28th letter was both Par and Hetero.           The

      10   April 27th letter, Docket Entry 164, is just Hetero.

      11                 MR. CERRITO:     Right.     And it dealt -- it only

      12   dealt -- it wasn't -- the 164 deals only with a schedule

      13   pertaining to Mylan.

      14                 THE COURT:     Right.

      15                 MR. CERRITO:     With regard to certain discovery

      16   dates there.

      17                 THE COURT:     Right.     So why don't we do it this way.

      18   Why don't I start with Celgene and why don't you bring me up

      19   to speed on where we are in both matters where they --

      20   because I don't think I've had a conference in this case

      21   previously.        Right?    Okay.

      22                 So why don't you bring me up to speed on where we

      23   are with both matters, where they are on the same track,

      24   where they diverge, and help me just sort of generally get my

      25   bearings.
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       1                 MR. CERRITO:        To answer that, I guess the last

       2   question first, they're basically on the same track with the

       3   minor exception of the Mylan venue-related discovery.                 As

       4   Your Honor knows that's a sort of running -- a separate

       5   isolated issue with Mylan only.

       6                 Just to get Your Honor up to speed a little bit,

       7   the case was filed back in 2017.               Initial disclosures in this

       8   case were exchanged in October.              There are --

       9                 THE COURT:        I'm sorry.     You say "this case."   We're

      10   on -- you're talking about both cases?

      11                 MR. CERRITO:        Yeah, they were done simultaneously.

      12                 THE COURT:        That's fine.     Okay.   So -- so go ahead.

      13                 MR. CERRITO:        Everything runs together, I guess,

      14   Your Honor, essentially.

      15                 THE COURT:        Okay.

      16                 MR. CERRITO:        There's currently six defendants.

      17   There are seven filed, but one defendant decided to go a

      18   different route.             But there are six active defendants.      The

      19   number of patents asserted here are between four and nine

      20   depending on who certified as to what.               So two parties have

      21   four.     The remainder of the other four parties have nine

      22   patents.

      23                 The responsive contentions were exchanged back in

      24   April 20th -- not an insubstantial endeavor on behalf of,

      25   certainly, Celgene.             Nearly a thousand pages were submitted
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       1   there.

       2                 As a result, now that, you know, the issues have

       3   been framed with contentions, we are now undertaking some

       4   discovery.        There has been some letters back and forth

       5   between parties concerning certain of the discovery.                We

       6   think that there is one issue that is ripe for a decision at

       7   this point.        Of course, we'd have to file a motion or ask

       8   Your Honor for leave to file a motion.            We're deciding how to

       9   approach that, so we may be --

      10                 THE COURT:     Okay.

      11                 MR. CERRITO:     -- approaching Your Honor in the near

      12   future.      It's a sort of isolated issue.

      13                 THE COURT:     With respect to both cases or just one

      14   or the other?

      15                 MR. CERRITO:     I -- it'd be both.

      16                 THE COURT:     Okay.

      17                 MR. CERRITO:     Yes, Your Honor.     I apologize.     I

      18   will -- unless I guess I say --

      19                 THE COURT:     Unless to the contrary.

      20                 MR. CERRITO:     I just don't think of them as

      21   separate cases, so I apologize.

      22                 THE COURT:     That's fine.     And I still don't know

      23   what I think of them, so....         So let's try and figure all

      24   that out.

      25                 MR. CERRITO:     Fair enough.     Fair enough.   So
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        1   we're -- again some letters have been exchanged, but it

        2   doesn't really be ripe on those issues.

        3                 We did receive some correspondence late last night

        4   concerning defendants' desire to set some dates into the

        5   schedule.       We received that last night about 9 o'clock.        We

        6   have not, obviously, had a chance to discuss that with our

        7   client.

        8                 We're happy to discuss that with defendants and get

        9   back to Your Honor with a recommendation or hopefully an

       10   agreement.

       11                 THE COURT:      Yeah, you actually presage my next

       12   question, which is I know that there were -- well, actually I

       13   don't know.        Whether we're operating under a viable pretrial

       14   scheduling order at this point.

       15                 MR. CERRITO:      Your Honor, I guess I don't presume

       16   to understand what you mean by one --

       17                 THE COURT:      In other words.   Go ahead.

       18                 MR. ALUL:      I was just going to say, Your Honor, I

       19   don't believe we are.          We're operating on a truncated

       20   schedule at best that basically leaves a number of dates open

       21   after -- after the claim construction schedule.             And we're

       22   almost a year into this case -- I believe we're 10 months

       23   into this case.          We're eight months into fact discovery.        I

       24   generally agree with what Mr. Cerrito's synopsis of what's

       25   happened in this case, except that I believe we've engaged in
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        1   some very considerable fact discovery.           We served our Rule 34

        2   requests, Rule 33 interrogatories.           We've gotten responses

        3   back from them.          We're working through some deficiencies with

        4   them.     We've served our invalidity contentions, our

        5   noninfringement contentions.           Hundreds of pages.     They served

        6   their response and their infringement contentions.

        7                 THE COURT:      Right.

        8                 MR. ALUL:      Both sides have exchanged hundreds, if

        9   not thousands, of pages of prior art and other documentary

       10   evidence in connection with those contentions.              Really, the

       11   only thing we have left to do is take fact deps.              And I

       12   believe Celgene has yet to serve Rule 34 requests for

       13   documents.        They've already served Rule 34 requests for

       14   samples.       We've produced those.

       15                 So we've had significant fact discovery underway

       16   here.     And at least on the defense side, we believe we need a

       17   schedule.

       18                 MR. CERRITO:      Well, Your Honor, I -- had most of

       19   it, right up until part where he said --

       20                 THE COURT:      No, I didn't hear a lot of

       21   disagreement.         But, right.

       22                 MR. CERRITO:      Well -- said we're basically done.        I

       23   mean, we basic just started is where we are.

       24                 Once contentions are served to the parties --

       25                 THE COURT:      This is going to get interesting.
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        1   Okay.

        2                 MR. CERRITO:       I mean, that's when you know what

        3   your case is.         Right?    They served their contentions.    We

        4   responded.        They did hundreds.     We did thousands in response.

        5                 And now we know where -- that happened April 20th,

        6   so couple of weeks ago, basically, we framed the case.

        7                 Look, we have no problem talking about a schedule.

        8   We'll do that offline and present to Your Honor.

        9                 THE COURT:       Yeah.

       10                 MR. CERRITO:       Unfortunately, we were sort of

       11   sandbagged by their attempt to rush into court with a

       12   schedule that never raising it --

       13                 THE COURT:       I'm sure no sandbagging was intended.

       14                 But, look, why don't we do it this way, right, and

       15   approach it practically.           How about if I give you folks two

       16   weeks -- and if this isn't enough time because we have -- we

       17   have multiple parties, tell me.           I'll be happy to work with

       18   you -- to meet and confer and try to get me a schedule.                And

       19   actually, shame on me, I probably should have done that in

       20   the run-up to this conference.           But no harm, no foul.

       21                 So if two weeks is enough time.

       22                 And then if you folks, as you most certainly will,

       23   disagree on this part or that part of the schedule, you'll

       24   tell me in that submission what your respective disagreement

       25   is, and each of you can please concisely tell me the basis
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        1   for your position as to that aspect of the schedule on which

        2   you disagree.

        3                 MR. CERRITO:      Yes, Your Honor.

        4                 MR. ALUL:      Happy to do that, Your Honor.

        5                 I'd just like to push back on this assertion

        6   somehow we sandbagged them.           We asked them on Monday actually

        7   for -- then I'll leave it alone.

        8                 THE COURT:      You're arguing when you're ahead.

        9                 MR. ALUL:      I'm sorry?

       10                 THE COURT:      You're arguing while you're ahead.    No,

       11   I didn't infer sandbagging.

       12                 MR. ALUL:      Thank you.   But we have a proposed

       13   schedule here with us, but we're happy to meet and confer

       14   with them.        Yeah.

       15                 THE COURT:      Yes, please do that.   Look, if nothing

       16   else, I don't expect you folks -- just experience teaches me

       17   that you won't agree on the entirety of the schedule,

       18   especially if there's at least some disagreement over what's

       19   been accomplished, but at least in doing this -- look, here's

       20   the truth about being a magistrate judge in complex civil

       21   litigation.        Okay?     Unless you're Stanley Chesler, who's

       22   obviously no longer a magistrate judge and hasn't been in a

       23   while.      But half the time, you're just trying to figure out

       24   where the disagreement lies.           Okay?   And you're doing it in,

       25   you know, with 10 other conferences going on that day, a
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        1   settlement conference that may or may not actually settle.

        2   You don't know because you're only in hour 3, and you still

        3   don't know exactly where the parties are.

        4                 So the best thing can you do by meeting and

        5   conferring, if you -- look, in a perfect world, you'll agree

        6   on everything.          But in a less than perfect world, at least

        7   you'll tell me where you disagree and why, and that'll let me

        8   get through it a lot more quickly and get you folks back an

        9   order that reconciles the issues.

       10                 MR. ALUL:      Thank Your Honor.

       11                 THE COURT:      All right.   What else you got?

       12                 MR. CERRITO:      Nothing, Your Honor.

       13                 THE COURT:      Okay.

       14                 DEFENSE ATTORNEY:       Your Honor, the only question I

       15   have is I know that this is unusual in New Jersey, but given

       16   the 30-month stay date, would it be possible to talk to Judge

       17   Salas about getting a trial date.           That we had originally

       18   proposed that back in front of Judge -- the other magistrate

       19   judge in January.

       20                 THE COURT:      And I'm going to guess, did he say in a

       21   sort of skeptical tone, you can ask?

       22                 DEFENSE ATTORNEY:       I think we actually -- my record

       23   of -- is that he said he would talk to her.            In fact,

       24   Your Honor, if you look -- my recollection at that time was

       25   that he said he would check with Judge Salas, but, obviously,
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        1   if we had a trial date, then it's much easier to work

        2   backwards.        If that's certainly not something that's done

        3   here, we're fine with that.            But --

        4                 THE COURT:      I can -- maybe I'm betraying just sheer

        5   ignorance.        I've not heard of that practice before.

        6                 Mr. Cerrito, do you want to --

        7                 MR. CERRITO:      I've never heard of that either,

        8   Your Honor.        And just so we're on --

        9                 THE COURT:      I'm not saying it doesn't happen.    I'm

       10   just saying I haven't heard of that previously.

       11                 MR. CERRITO:      I've had, as Your Honor knows, many

       12   cases before Judge Salas.            I've never heard that.

       13                 But the 30-month stay in this case is more than two

       14   years away.        This was actually a 42-month stay because of the

       15   "date certain" filing.          So it's August 2020.    I don't know

       16   that we can talk about trial dates two and a half years from

       17   now.

       18                 MR. ALUL:      Just to clarify, Your Honor, in the

       19   Rule 16 transcript, Judge Dickson did say that he would check

       20   with Judge Salas.

       21                 THE COURT:      I'm not doubting.

       22                 MR. ALUL:      Yeah.

       23                 THE COURT:      Yeah, I don't doubt that.

       24                 MR. ALUL:      But we're certainly willing to follow

       25   whatever the Court's predilection is on this.
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        1                 THE COURT:      Here's what I propose you do.       Hold on.

        2   Let me see if I can find it in the transcript.              I was going

        3   to suggest first submitting a letter, but if it's already in

        4   the transcript, I'm not sure that that's entirely necessary.

        5                 MR. ALUL:      Yes, it's -- Your Honor.      We have some

        6   citations.        It's actually in the scheduling order that's in

        7   place.      It's Footnote 2 in the calendar attached to the

        8   schedule.       And you'll see hearing transcript, October 25th,

        9   2017, at 14:24 to 16:5, and then 49 --

       10                 THE COURT:      I'm sorry.   Wait.     Hold on.   Let me

       11   just catch up with you.

       12                 MR. ALUL:      Sure.

       13                 THE COURT:      October -- tell me that again.       What's

       14   the date?

       15                 MR. ALUL:      Sure.   It's October 25th, 2017, is the

       16   transcript of the Rule 16.

       17                 THE COURT OFFICER:       What page?

       18                 MR. ALUL:      Page 14 to 16, and page 49, lines 4

       19   through 19.        I actually have it on my phone.        I don't have a

       20   hard copy of it here with me.

       21                 THE COURT:      It's all right.      I've got it here -- or

       22   I will.

       23                 MR. CERRITO:      What may be missing from that written

       24   word is the skepticism Judge Dickson showed when that

       25   statement was made.
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        1                 But regardless, Your Honor, we're talking about a

        2   case --

        3                 THE COURT:      I'll raise the issue.    I mean --

        4                 MR. CERRITO:      I would encourage you to talk to

        5   Judge Dickson.

        6                 THE COURT:      J, did you make a note of those page --

        7   what are the pages again?             I'm sorry.

        8                 MR. ALUL:      Sure.    They 14 to 16 and 49.

        9                 THE COURT:      Okay.    All right.

       10                 MR. CERRITO:      I think it's, quite frankly, a little

       11   unproductive to do this piecemeal and present to Your Honor a

       12   full picture.

       13                 THE COURT:      Here's the other problem -- right? --

       14   realistically with predicting a trial schedule or a trial

       15   date two years out.          As you folks know, and certainly Judge

       16   Salas is eminently sensitive to the 30-month stay issue.             But

       17   we also operate -- or she operates as a district judge in a

       18   world where criminal cases get priority constitutionally, and

       19   trying to predict exactly an open date, you know, in a case

       20   for trial purposes is at this point extraordinarily difficult

       21   and speculative.

       22                 But I'll take a look at the transcript, and I'll

       23   talk about it.

       24                 MR. CERRITO:      I guess I would just add, if we're

       25   going to go down this road, you know, obviously, this Court's
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        1   well aware of Local Rule 2.4 about Markman scheduling and

        2   what expert reports follow therefrom.           We obviously agree

        3   with the rule.          We think that you should have Markman ruling

        4   before you end up doing expert reports, and maybe more so in

        5   this case than in others, since there are so many defendants.

        6                 THE COURT:      Right.

        7                 MR. CERRITO:      There's going to be -- and I'm

        8   guessing, between all the parties -- remember, I have to show

        9   infringement against all of them.           I mean, the different

       10   experts against all of them.           There could easily be 15 to 20

       11   experts in this case.          To rush with the schedule, to work

       12   backwards to set a date when we don't have a Markman may

       13   require us to do two sets of expert reports, may require

       14   amended contentions, may require all the things that Rule 2.4

       15   was set up to avoid.

       16                 THE COURT:      Right.   I'll say this outset, I'd have

       17   some real concerns about locking in a schedule now, just

       18   getting sort of up to speed on the case.

       19                 MR. ALUL:      Understood, Your Honor.   I -- again, we

       20   just --

       21                 THE COURT:      I understand the idea and the purpose

       22   behind it.

       23                 MR. ALUL:      We didn't -- the issue for us is,

       24   Your Honor, we're in this case.           We've been in this case now

       25   for almost a year or eight months in the fact discovery.
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        1                 THE COURT:      Right.

        2                 MR. ALUL:      We've hired experts who -- some of whom

        3   are physicians, some of whom are university professors who

        4   have very busy schedules who are calling me every month

        5   saying, when are our services going to be needed?

        6                 We have corporate clients who for budgetary reasons

        7   need to know when big litigation expenditures are going to

        8   take place in this case.

        9                 THE COURT:      Yeah, well, I have to be honest, on

       10   that one, your corporate clients are use -- especially in

       11   these sort of cases, this is probably something that they've

       12   grown accustomed or adapted to by now.

       13                 MR. ALUL:      Understood.   Okay.   Fair enough,

       14   Your Honor.

       15                 I guess my point is, though, we've been in this

       16   case for a year and a half now.            We've hired experts --

       17   for -- I'm sorry -- for a year now.            We're eight months into

       18   fact discovery.          We know --

       19                 THE COURT:      He was about to get up and object to

       20   year and a half.

       21          (Simultaneous conversation)

       22                 THE COURT:      And you even see him out of the corner

       23   of your eyes, so I would think --

       24          (Simultaneous conversation)

       25                 MR. CERRITO:      See, I don't even have to say
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        1   anything.       I just have to look like I'm going to stand up.

        2                 MR. ALUL:        So, you know, again, I find it -- I've

        3   practiced before this Court for years now, and I find it

        4   unusual that we're almost a year into this case, and we don't

        5   have a complete schedule; set aside the trial date issue.

        6   And I think we, on the defense side, would find it very

        7   helpful if we could lock in some days.

        8                 THE COURT:        Well, look, at a minimum, here's what I

        9   can promise you.             By the end of -- you folks are going to get

       10   me the joint letter by when?             We said in two weeks.    Right?

       11                 MR. ALUL:        Sure.

       12                 THE COURT:        So that's the 25th.     By the end of the

       13   month, we're going to have a schedule.

       14                 MR. ALUL:        Great.   Thank you, Your Honor.

       15                 THE COURT:        It may not have a trial date on it.

       16                 MR. ALUL:        Sure.

       17                 THE COURT:        But we're going to have a schedule.

       18                 MR. ALUL:        Understood.

       19                 THE COURT:        What else?   Nothing?

       20                 MR. ALUL:        Your Honor, there was one last issue

       21   that we were going to bring up for Apotex and Hetero, and

       22   we'd be happy to submit a formal letter application on this

       23   particular issue, if Your Honor would like.

       24                 THE COURT:        Okay.

       25                 MR. ALUL:        There are, as Mr. Cerrito mentioned,
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        1   nine patents in this case for, I guess, four of the

        2   defendant, including both of my clients.           One of the patents

        3   is a formulation patent.          It's a very specific formulation

        4   patent.      It claims specific capsules of pomalidomide with

        5   certain ingredients and certain amounts, weighing certain

        6   amounts and having certain sizes.           It's a very, very narrow

        7   patent.      And my clients have designed around it.       And we

        8   don't infringe.          In fact, a few weeks ago, we got Celgene's

        9   infringement contentions, which we're still digesting, but

       10   they actually concede no literal infringement.           They only

       11   assert infringement under the doctrine of equivalents.              And

       12   there, Your Honor, the case law's pretty crystal-clear,

       13   Celgene's estopped from asserting infringement of the

       14   doctrine of equivalents for two independent reasons: because

       15   of how they narrowed their claims during claim construction

       16   to avoid the prior art, and because of what they told the

       17   Patent Office about their claims to distinguish them from the

       18   prior art.        And under Federal Circuit case law, Your Honor,

       19   prosecution history estoppel is a legal issue for the Court

       20   to decide via pretrial summary judgment motion.           So --

       21                 THE COURT:      Okay.   So -- I'm sorry -- wait.    So

       22   tell me what the request is.

       23                 MR. ALUL:      So the request is -- the request is for

       24   leave to file for summary judgment on this one patent.              And

       25   we'd be happy to present it as a letter application to
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        1   Your Honor.

        2                 THE COURT:      Yeah, you're probably going to need to,

        3   because that's going to be much more Judge Salas's call than

        4   mine, but go ahead, Mr. Cerrito.

        5                 MR. ALUL:      Sure.

        6                 MR. CERRITO:      I mean, besides disagreeing with

        7   everything he just said, and there is a legal issue --

        8                 THE COURT:      I imagine on the law, you did.   But --

        9                 MR. CERRITO:      Yeah, and I do -- and also it's an

       10   issue underlying --

       11                 THE COURT:      Do you concede that there's no literal

       12   infringement, though?

       13                 MR. CERRITO:      I believe that is what we said in

       14   our -- in the papers.

       15                 THE COURT:      Okay.   Okay.

       16                 MR. CERRITO:      But the underlying question of law

       17   there, of course, is based on facts.          And so, again -- I know

       18   he's been here a long time, I've been here a long time, we've

       19   all been here a long time, and rarely do we see summary

       20   judgment motions for all the reasons that judges typically

       21   don't allow them, because they waste time.          On the one hand,

       22   they want to move forward quickly and do all this stuff, but

       23   on the other hand, they want to distract us.

       24                 THE COURT:      Well, they're not proposing to stay

       25   discovery.        I mean, you're not proposing to stay discovery.
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        1                 MR. ALUL:       Oh, no.

        2                 THE COURT:       Right.    That's not happening.

        3                 MR. CERRITO:       But when it's six against -- when

        4   it's six against one -- easy for them to do that, because

        5   they can all do the work.              I have to do the work against all

        6   of them.       They can choose which one of them does the work.

        7                 So, you know, they can make their application, I

        8   guess, Your Honor, but obviously, we would -- we're going to

        9   oppose.

       10                 THE COURT:       Well, I assume you're going to want to

       11   be heard on that?            So you folks will send me a joint letter?

       12   Unless you don't want to be heard.

       13                 MR. ALUL:       Sure.

       14                 MR. CERRITO:       I mean, I want to be heard to oppose,

       15   yes.

       16                 THE COURT:       Yeah, to oppose him, leave to make the

       17   motion.      I assume that you're -- obviously you want to -- you

       18   want to be heard on opposing any motion, if it's allowed.

       19                 MR. CERRITO:       Whatever -- yes, Your Honor.

       20                 THE COURT:       All right.    So what I'll do --

       21                 MR. CERRITO:       Well, if a motion will be allowed.

       22                 MR. BATON:       Yeah, Your Honor, it's Bill Baton.

       23   Just to be clear, I think what you're asking is he -- they

       24   want to put in a letter --

       25                 THE COURT:       Yeah.
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        1                 MR. BATON:      -- requesting leave to file a motion.

        2                 THE COURT:      And I want to know -- your side why

        3   that's a bad idea.

        4                 MR. BATON:      Yes.     Right.

        5                 MR. CERRITO:      Yes, Your Honor.

        6                 MR. BATON:      But he's just not going to file a

        7   motion.

        8                 THE COURT:      No.

        9                 MR. BATON:      Right.     Correct.

       10                 THE COURT:      All right.        So why don't you folks get

       11   that to me also by the 25th.

       12                 MR. ALUL:      Thank Your Honor.

       13                 THE COURT:      Okay.     Okay.     Anything else?   All

       14   right.      We're adjourned.

       15                  (Conclusion of proceedings at 10:29 A.M.)

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